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 IN THE UNITED STATES DISTRICT COURT
 FOR THE EASTERN DISTRICT OF NEW YORK
                                                 X
 CHARLOTTE FREEMAN, et al.,
                                                 :
                                                 :
                                 Plaintiffs,     :       Case No. 14-cv-6601 (DLI)(CLP)
                                                 :
                 v.                              :
                                                 :       Oral Argument Requested
 HSBC HOLDINGS PLC, et al.,                      :
                                                 :       Served: August 31, 2018
                               Defendants.       :
                                                 :
                                                 X




                BANK SADERAT PLC’S OBJECTIONS TO THE REPORT AND
                               RECOMMENDATION




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 Dated: August 31, 2018



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           Magistrate Judge Pollak’s Report and Recommendation (“R&R”) regarding defendant

 Bank Saderat PLC’s ("BSPLC") motion to dismiss should not be adopted because the

 Antiterrorism Act’s (“ATA”) act of war limitation (“AOW”) applies to the claimed injuries

 suffered by servicemen on active duty in combat capacities in a foreign war zone. Additionally,

 there is no basis for personal jurisdiction over BSPLC. For brevity and efficiency, BSPLC

 maintains and does not waive all its arguments contained in its filed motion to dismiss and joins

 in all the arguments of its co-defendants with respect to the R&R and the defenses raised against

 the First and Second Claims for Relief in the Second Amended Complaint (”SAC”).

 I.        ACT OF WAR LIMITATION PRECLUDES THIS ACTION UNDER THE ATA

           BSPLC specifically objects to the recommendation that plaintiff servicemens’ claims

 were not barred by AOW because they did not occur in a declared war between the U.S. and

 Iran. R&R p. 125. 18 U.S.C. § 2331(4)(A) provides that “any act” in the course of a declared

 war falls within AOW. § 2331(4)(A) does not require by its terms that the hostilities involve a

 declared war between two nations. By contrast, § 2331(4)(B) requires an armed conflict

 “between two or more nations.” As a result, § 2331(4)(A) can apply to ensuing hostilities if any

 nation makes a sufficient declaration. Section 2331(4)(A) makes AOW applicable even in the

 absence of an opposing “military force” as long as there is a predicate declaration.

           The Iraq War Resolution was passed by Congress and signed into law by the President.

 It authorized the Iraqi invasion and military action in Iraq of U.S. Armed Forces—which

 continue today. This is within the ATA’s definition of a “declared war” under § 2331(4)(A). All

 of the claimed injuries occurred in Iraq during combat operations after the U.S. invasion. The

 Court did not take issue that the claimed injuries sufficiently occurred in the course of hostilities

 as required by § 2331(4). The Court below found, however, that AOW was inapplicable because

 the U.S. did not declare war against Iran. U.S. soldiers were not fighting in Iran, nor was Iran


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 fighting in the U.S. U.S. soldiers were fighting in Iraq and their injuries were the result of the

 hostilities in Iraq that were authorized by Congress and the President in the Iraq War Resolution.

        This is sufficient for application of AOW to plaintiffs’ claims. In Stutts v. De Dietrich

 Group, 2006 U.S. Dist. LEXIS 47638 (E.D.N.Y. 2006), plaintiffs included U.S. servicemen

 deployed during the 1991 Gulf War, which, like the present case, was permitted by an

 Authorization for Use of Military Force (“AUMF”). Id. at *4-5. Plaintiffs sued under the ATA

 for injuries sustained from toxic agents in Iraqi chemical weapons. Id. at *5. The exposure

 occurred when weapons were destroyed by Coalition forces. Id. Plaintiffs sought relief from

 (among others) banks that were correspondents under letters of credit issued to the suppliers. Id.

 The Court found AOW applicable to bar the claims even though the (1) injuries occurred after

 the cessation of armed hostilities, (2) injuries arose from “friendly fire,” and (3) § 2336(a) does

 not apply to injuries that “happen to occur during wartime.” Id. *19. The Court held that

 plaintiffs’ allegations “put this case squarely within” the AOW limitation. Id. Just as in Stutts,

 the end of major combat operations has no bearing of AOW’s application to the claimed injuries,

 and an AUMF suffices for purposes of AOW.

        Even if the AUMF were not sufficient for a declared war in Iraq, Judge Pollak below

 erred in not finding that AOW applies under § 2331(4)(B), which requires an armed conflict,

 whether or not war has been declared, between two or more nations. Plaintiffs’ SAC alleges that

 the claimed designated groups are proxies and agents for Iran, and operating with Iran’s support

 and at its direction. 1 This means that the claimed injuries of plaintiff servicemen in active



        1
          The complaint alleges: The Badr Corp is “the military wing of the Supreme Council for
 Islamic Revolution in Iraq.” SAC ¶ 282. The Badr Corps “is a major political organization with
 seats in the Iraqi parliament” playing “a significant role in facilitating Special Group operations.”
 SAC ¶ 292. IRI and IRGC have “coordinated, armed and influenced the Badr Organization,”
 which “has funnel[ed] weapons to Iranian proxies in Iraq from 2004-2011.” SAC ¶ 291, 292.


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 combat capacities in Iraq resulted from armed conflict between two or more nations as required

 by § 2331(4)(B). It is not grounds for denial of AOW under § 2331(4)(B) that the combatants at

 issue were not “military forces of any origin.” Where § 2331(4)(C) requires “military forces,”

 § 2331(4)(B) does not; the claimed Iranian proxies and agents are included.

        Even if §§ 2331(4)(A) and (B) do not foreclose plaintiffs’ claims, § 2331(4)(C) denies

 claims involving armed conflict between military forces of any origin. The Court below erred in

 applying this provision of AOW and incorrectly interpreted the proper role of AOW in limiting

 causes of action under the ATA. Specifically, the Court found that the ATA categorically does

 not permit an act of international terrorism to be limited by AOW. R&R p. 126. But in the

 ATA, AOW and “international terrorism” are distinct from each other and not mutually

 exclusive. AOW and international terrorism are not the obverse of each other. Section 2331

 does not present AOW as an exclusion to, or limitation on, those acts within the definition of

 “international terrorism.” Instead, § 2331(4) defines AOW separately and without reference to

 the definition of international terrorism in § 2331(1). Understanding ATA in this manner is not

 only indicated by the text of the ATA, it is required to avoid interpreting AOW as mere

 surplusage in the statute. In short, the ATA requires a predicate act of international terrorism for

 liability, which is barred if occurring as an AOW under § 2336. Properly applied, AOW acts as

 a limiting principle upon the ATA’s expansive liability. The Court’s erroneous determination

 that an act of international terrorism cannot be AOW does not conform to the text of the ATA.


 Another Special Group, JAM, is an Iraqi “militia” (SAC ¶ 294) known as the “Mahdi Army.”
 SAC ¶ 294. The Madhi Army allegedly “led the first major armed confrontation against U.S.-led
 forces in Iraq.” Id. A branch is alleged to have received funding, training and weapons from
 IRGC. and attacked “U.S. military convoys.” SAC ¶¶ 299, 301. KH is “Iran’s go-to militia in
 Iraq,” (SAC ¶ 302) and AAH has “conducted [] thousands of IED attacks against U.S. and Iraqi
 forces,” including rocket and mortar attacks. SAC ¶ 325. AAH is claimed to have been
 provided “significant funding” by IRI and is “an Iranian entity.” SAC ¶¶ 326, 329.



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         Judge Pollak also erroneously relied on the notion that a designated terrorist organization

 cannot be a “military force” under AOW. R&R p.127. Unlike AOW’s § 2331(4)(B), (4)(C)

 does not require the conflict to be between nations. By these means, the statute can bar claims

 against irregular forces and paramilitary groups. In this respect, courts have held that the

 distinguishing factor of a group as a military force of any origin is whether it is acting as such in

 the context of the armed conflict at issue. Kaplan v. Central Bank, 961 F. Supp. 2d 185, 203

 (D.D.C. 2013) reversed on other grounds 2018 U.S. App. LEXIS 20214 (D.C. Cir. 2018), Gill v.

 Arab Bank, PLC, 891 F. Supp. 2d 335, 377 (E.D.N.Y 2012). Similar to Kaplan, plaintiffs’

 allegations are of sustained combat with ordnance directed at armored vehicles and patrols in

 attacks on an occupying military force.

         Nowhere in ATA’s text are designated individuals and organizations categorically barred

 under AOW, and that would make no practical sense. Reducing AOW’s application to

 nomenclature or status cannot be the point. Determination of whether an individual or a group is

 a military force (or a part thereof) is not about their status but their capacity at the time in

 question. Kaplan, 961 F. Supp. 2d at 203 (D.D.C. 2013) reversed on other grounds 2018 U.S.

 App. LEXIS 20214 (D.C. Cir. 2018). There is no basis in the text of the ATA or in reason that

 would bar AOW to an individual or an organization simply based on past conduct when the issue

 is ATA tort liability for a current one. The Court’s reliance on a snippet of ATA legislative

 history does not conform to the statute’s final text. See also Gill, 891 F. Supp. 2d at 371

 (E.D.N.Y 2012) (ATA’s legislative history not “coherent”).

         The SAC establishes the groups in question as “military forces” under the ATA. As

 such, the court must accept these allegations as true for the purposes of a motion to dismiss.

 AOW is not determined by allegations of a combatant’s lack of an insignia at the time a missile




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 is launched (as in Kaplan) or there is a radio controlled EFP denotation directed against an

 armored vehicle as here. The international laws of war do not apply. Kaplan, 961 F. Supp. 2d at

 200-201(D.D.C. 2013) reversed on other grounds 2018 U.S. App. LEXIS 20214 (D.C. Cir.

 2018)(AOW does not incorporate international law or law of war). See also Gill, 891 F. Supp.

 2d at 374 (E.D.N.Y. 2012) (Congress did not provide laws of war to be touchstone for AOW).

        Crucially, this is not a case about attacks on civilians, but combat with U.S. military

 personnel in Iraq. The weapons include RPGs, IRAMs and other munitions, but those at issue

 are principally EFPs. As alleged, these EFPs are specifically designed for use and directed at

 armored military vehicles. SAC ¶ 259. What makes this case so different for purposes of AOW

 is that reported cases denying AOW have almost exclusively involved attacks on civilians. Biton

 v. Palestinian Interim Self-Gov’t Auth., 412 F. Supp. 2d 1, 7 (D.D.C. 2005) (civilian bus

 bombing); Estate of Klieman v. Palestinian Auth., 424 F. Supp. 2d 153, 162-63 (D.D.C.

 2006)(civilian bus bombing);Gill v. Arab Bank, PLC, 893 F. Supp. 2d 474, 508 (E.D.N.Y.

 2012)(sniper shooting of Israeli-led delegation); Sokolow v. Palestine Liberation Org., 583 F.

 Supp. 2d 451 (S.D.N.Y. 2008)(civilian bombings and shootings); Kaplan v. Central Bank, 961 F.

 Supp. 2d 185, 200-203 (discussing civilian attacks in context of AOW). These cases sharply

 contrast with the allegations of the SAC brought by soldiers which bring this case squarely

 within AOW. See, Stutts, 2006 U.S. Dist. LEXIS 47638 (E.D.N.Y. 2006). Congress could have

 allowed soldiers’ claims for alleged combat torts under the ATA, but excluded them under

 AOW. There are no disputed facts at issue for determination. Based on plaintiffs’ allegations in

 the SAC, this Court should not adopt the Report and Recommendation, but instead find AOW

 applies and dismiss the SAC’s ATA claims against BSPLC.




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 II.    NO PERSONAL JURISDICTION OVER BSPLC UNDER “CONSPIRACY
        JURISDICTION”

        BSPLC specifically object to Judge Pollak’s Report and Recommendation regarding

 personal jurisdiction. BSPLC is not subject to general or specific personal jurisdiction in this

 District (or the U.S.). BSPLC does not have any presence in the U.S. nor does it conduct any

 business in the U.S. To find a recommended basis for specific personal jurisdiction, Judge

 Pollak erroneously adopted and applied “conspiracy jurisdiction.” R&R p. 130. Other courts in

 this District have declined to adopt conspiracy jurisdiction as a basis for the exercise of judicial

 power over a defendant, which does not survive the Supreme Court’s decision in Walden v.

 Fiore, 134 S. Ct. 115 (2014). Specific personal jurisdiction must be based on a defendant’s

 contacts with the forum, not the defendant’s contacts with persons who reside there. In re Dental

 Supplies Antitrust Litig., 2017 U.S. Dist. LEXIS 153265 at *28 (E.D.N.Y. Sept 20, 2017). See

 also, Tymoshenko v. Firtash, 2013 U.S. Dist. LEXIS 43543 at *2-4 (S.D. N.Y. Mar. 27, 2013)

 (criticizing conspiracy jurisdiction and refusing to find personal jurisdiction over a foreign

 defendant); In re Aluminum Warehousing Antitrust Litig., 90 F. Supp. 3d 219, 227 (S.D.N.Y.

 2015) (conspiracy jurisdiction alone cannot supply a basis for personal jurisdiction). Specific

 personal jurisdiction over BSPLC based on conspiratorial agency theory under both CPLR

 Sections 302(a)(1) and (a)(2) fails for this reason alone.

        Even if this Court were to accept conspiracy jurisdiction, Judge Pollak erred in relying on

 the Deferred Prosecution Agreement (“DPA”) from a non-party to recommend finding specific

 personal jurisdiction as to BSPLC. To the extent BSPLC is referenced in the Lloyd’s DPA, it is

 peripheral and mentioned only collectively along with other Iranian banks, their branches and




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 subsidiaries. 2 The only factual assertion in the DPA specific to BSPLC is irrelevant for this

 matter, and notes that BSPLC maintained an unspecified correspondent account at Lloyds

 somewhere else. Lloyds is not a party to this action and its conduct and dealings with BSPLC

 are not at issue here. Importantly, the Lloyd’s DPA makes no reference that any of the described

 conduct had any connection with any funds transfers to Hezbollah fronts, Hezbollah, Lebanon, or

 terrorism at all. To the extent there was any conspiracy (which is disputed), the claimed object

 would have been directed at U.S. banking regulations and not support of terrorism. The DPAs

 do not support any plausible nexus between this forum and BSPLC, as they do not demonstrate

 any element of plaintiffs’ claims arising from BSPLC’s alleged indirect New York contacts and

 the torts at issue. Of course, it is no accident that the same is true of the other DPAs as well; no

 nexus is shown by any of them. Indeed, the DPAs support BSPLC’s position on personal

 jurisdiction as the conduct the DPAs describe has no connection to plaintiffs’ claims regarding

 terrorism in Iraq. 3

         In contrast to Licci v. Lebanese Can. Bank, SAL, 20 N.Y. 3d 327 (2012), there is no

 allegation BSPLC had any account in New York, but instead correspondent accounts outside the

 U.S. with other non-U.S. banks. There are no allegations of direct dealing by BSPLC in New

 York, nor could there be. Allegations that unidentified U.S. dollar transactions, processed in a

 manner that caused them to pass through New York in transactions involving other foreign


         2
          A complaint that lumps actors together and fails to differentiate them, fails to state a
 claim for relief. Trans World Airlines, Inc. v. 47th Street Photo, Inc., 1990 U.S. Dist. LEXIS
 4227, at *18 (S.D.N.Y. Apr. 13, 1990) (“the complaint must also clearly identify the nature of
 each defendant’s alleged participation in the [conduct]. Generalized statements of wrongdoing
 concerning all defendants will not be sufficient.”). Allegations of forum activity that do the
 same provide no basis for personal jurisdiction.
         3
         Such is also the case with the allegations concerning LOC transactions, none of which
 are connected to terrorist activity.



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 banks, does not satisfy plaintiffs’ burden that BSPLC purposefully was doing business in this

 forum.

          As we have argued, any other result here will be something new. It will mean specific

 jurisdiction may result anytime a non-U.S. financial institution (with no other U.S. contacts) uses

 a non-U.S. correspondent bank outside the U.S., which in turn fulfills customer orders through

 New York. Such a rule would be a virtual “big bang” of new U.S. jurisdiction. Without any

 correspondent account in New York of its own and without proof of purposeful availment of that

 account by BSPLC (as in Licci), the complaint fails to sufficient show personal jurisdiction over

 BSPLC in New York (or the U.S.) as a matter of law.

          Additionally, as to CPLR § 301(a)(2), personal jurisdiction has been traditionally

 predicated on physical presence in New York, which is absent here. DirectTV Latin Am. v. Park,

 691 F. Supp.2d 405,418 (S.D.N.Y. 2010). Not only is the locus of the alleged torts in Iraq and

 not New York, as BSPLC and its codefendants have asserted conspiracy-based jurisdiction is not

 available since the ATA does not provide for conspiracy-based liability. The result under the

 constitutional due process minimum contacts analysis is the same.

 III.     CONCLUSION

          This Court should not adopt the Report and Recommendation, but instead grant BSPLC’s

 motion to dismiss.


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